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BARRACK | RODOS BACINE

A Professional Corporation
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Robert A. Hoffman

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January 9, 2020

Via ECF

The Honorable John Michael Vazquez

United States District Court

District of New Jersey

Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Courtroom PO 03

Newark, NJ 07101

Re: Inre Newell Brands Inc. Securities Litigation
Civil Action No. 18-10878-JMV-JBC

Dear Judge Vazquez:

On behalf of Plaintiff, I write in reference to the Court’s December 10, 2019 Order granting
Defendants’ Motion to Dismiss Plaintiff's Consolidated Complaint for Violations of the Federal
Securities Laws (Dkt. No. 43). The Court’s dismissal was without prejudice and provided Plaintiff
with thirty (30) days to file an amended complaint.

This will inform the Court that Plaintiff has elected not to file an amended complaint. We
trust that the Court will enter in due course a final order of dismissal that would constitute an
appealable order.

Respectfully,

SWC, hig ——
Robert A. Hoffman

ce: All Counsel of Record (via ECF)

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